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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Central District of California

LARRY DUNN

 

Plaintiff(s)

Vv.

Civil Action No. 2:21-cv-00714-JAK (RAOx)

U.S. BANKCORP; MICHELE ANDELSON, AS
TRUSTEE OF THE ARLEN ANDELSON FAMILY
TRUST; DOES 1 to 10

 

Defendant(s)

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SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. BANKCORP
C T CORPORATION SYSTEM, AS AGENT FOR SERVICE OF PROCESS
818 W 7TH ST. SUITE 930, LOS ANGELES, CA 90017

MICHELE ANDELSON, AS TRUSTEE OF THE ARLEN ANDELSON FAMILY TRUST
708 NORTH ARDEN DRIVE, BEVERLY HILLS, CA 90210

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: SO. CAL. EQUAL ACCESS GROUP

Jason J. Kim (SBN 190246)

101 S. Western Ave., Second Floor
Los Angeles, CA 90004
Telephone: (213) 252-8008

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Kiry K. Gray
CLERK OF COURT

Date. 01/27/2021 Llahao

Signature of Clerk or Deputy Clerk

 

 

 
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Civil Action No. 2:21-cv-00714-JAK (RAOx)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

1 I personally served the summons on the individual at (place)

 

on (date) 5 or

 

O1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) 5 or
1 IT returned the summons unexecuted because > or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
